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PATROL GUIDE

Section: Command Operations Procedure No: 212-129

FACIAL RECOGNITION TECHNOLOGY

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PURPOSE To ensure the use of facial recognition technology balances the need for effective,
accurate law enforcement investigations, and the need to respect the privacy of

citizens.

SCOPE Facial recognition technology enhances the ability to investigate criminal activity
and increases public safety. The facial recognition process does not by itself
establish probable cause to arrest or obtain a search warrant, but it may generate
investigative leads through a combination of automated biometric comparisons
and human analysis.

DEFINITIONS AUTHORIZED USES - Facial recognition technology must only be used for
legitimate law enforcement purposes. Specifically, the following are the only
authorized uses for employing facial recognition technology:

a. To identify an individual when there is a basis to believe that such individual
has committed, is committing, or is about to commit a crime,

b. To identify an individual when there is a basis to believe that such individual is
a missing person, crime victim, or witness to criminal activity,

C. To identify a deceased person,

d. To identify a person who is incapacitated or otherwise unable to identify
themselves,

e. To identify an individual who is under arrest and does not possess valid

identification, is not forthcoming with valid identification, or who appears to
be using someone else’s identification, or a false identification, or

f. To mitigate an imminent threat to health or public safety (e.g., to thwart an
active terrorism scheme or plot, etc.).

PROBE IMAGE - An image of an unidentified person obtained by the assigned
investigator from witnesses, victims, or other reliable sources.

PHOTO REPOSITORY - The controlled and limited group of images against which
the probe image is compared. The photo repository only contains arrest and parole
photographs. It is stored in a designated, and approved, law enforcement database, and
access is restricted to authorized users.

BACKGROUND CHECK - A Real Time Crime Center, Facial Identification Section
(RTCC-FIS) investigator evaluates the reliability of a potential match between the
probe image and an image from the photo repository. This includes an assessment of
available information about the potential match, and relevant details of the
investigation.

PLAINTIFF'S
EXHIBIT

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DEFINITIONS VISUAL COMPARISON - A RTCC-FIS investigator visually compares the

(continued) differences and similarities between a probe image and a potential match from the
photo repository for the purpose of evaluating whether they represent the same person.
In general, during this process, an investigator/supervisor compares facial
characteristics (e.g., eyes, ears, nose, chin, mouth, hair, overall facial structure, any
scars, marks, blemishes, or tattoos, etc.) and general characteristics, such as overall
complexion, gender, and age.

POSSIBLE MATCH CANDIDATE - A potential suspect who is identified through a
complete facial recognition analysis, which includes facial recognition technology,
visual comparison, background investigation and supervisory review. A possible
match candidate shall be treated as an investigative lead only. It does not by itself
establish probable cause to make an arrest, or obtain an arrest or search warrant.
Corroborating information must be developed through additional investigation by the
assigned investigator.

PROCEDURE When an investigator obtains an image depicting the face of an unidentified suspect,
victim or witness, and intends to identify the individual using facial recognition
technology, which includes any digital comparison of the probe image to photos stored
in the photo repository, the assigned investigator must submit a request to the RTCC-
FIS for facial recognition analysis:

FACIAL IDENTIFICATION SECTION PERFORMS FACIAL RECOGNITION

ANALYSIS:
ASSIGNED 1. Obtain image(s)/video(s) of individual to be identified.
INVESTIGATOR a. If video is submitted, include associated software/player.
b. If image is from internet/social media, include site link.

2. Upload image(s) to Enterprise Case Management System (ECMS) and
submit request to Real Time Crime Center-Facial Identification Section
(RTCC-FIS) for facial recognition analysis via an FIS Request DDS.

NOTE Investigators who do not have access to the Enterprise Case Management System (ECMS) may
contact RTCC-FIS via phone or email. Investigators must provide a case or COMPLAINT
REPORT (PD313-152) number. RTCC-FIS will generate an FIS Request DDS.

RTCC-FIS 3. Assign FIS number to request upon receipt of FIS Request DDS via
SUPERVISOR ECMS, and direct RTCC-FIS investigator to review request.

RTCC-FIS 4. Confirm underlying basis for request is in compliance with authorized
INVESTIGATOR uses of facial recognition technology.
a. Document confirmation in ECMS.
5. Select probe image of individual to be identified from images submitted.
a. If image quality is unsuitable for facial recognition comparison,
notify the assigned investigator via FIS Image Rejection Report.
b. Permit assigned investigator to submit additional images.

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RTCC-FIS
INVESTIGATOR
(continued)

RTCC-FIS
SUPERVISOR

RTCC-FIS
INVESTIGATOR

ASSIGNED
INVESTIGATOR

ADDITIONAL
DATA

6.

14.

16.

Run query using facial recognition technology for comparison of probe
image to images stored in photo repository, and generate pool of possible
match candidates.

Review and analyze results by performing a visual comparison.

Perform detailed background check to confirm reliability of match, if
possible match candidate is identified.

Submit possible match candidate for peer review.

Conduct final review of possible match candidate, and approve, if appropriate.

Direct RTCC-FIS investigator to provide possible match candidate to assigned

investigator via FIS Possible Match Report, if in agreement with findings.

Direct RTCC-FIS investigator to continue investigation for possible match

candidate, if not in agreement with findings of RTCC-FIS investigator.

a. Direct RTCC-FIS investigator to report negative results to assigned
investigator via FIS No Match Report, if possible match candidate 1s
not identified or approved by supervisor.

Prepare FIS Possible Match Report and upload to assigned investigator’s

ECMS case file, if supervisor confirms possible match candidate.

a. FIS Possible Match Report shall include probe image, and
notification stating that determination of a possible match candidate
alone does not constitute probable cause to effect an arrest, or obtain
an arrest or search warrant, and that further investigation is needed to
establish probable cause.

b. Forward FIS Possible Match Report using same method used to
submit request for facial recognition analysis, if request is from outside
law enforcement agency.

Retain all records of facial recognition searches, including associated FIS case

number, reason each search was requested, details, and search results, and

upload them into the ECMS case file.

Conduct further investigation to determine whether possible match candidate
is connected to, or involved in, incident under investigation, upon receipt of
FIS Possible Match Report in order to establish probable cause.

Continue investigation, (i.c., obtaining additional suitable images for another
submission to RTCC-FIS), if no possible match candidate was determined, or
image was rejected.

The use of facial recognition technology that compares probe images against images outside
the photo repository is prohibited, unless approval is granted for such analysis in a specific
case for an articulable reason by the Chief of Detectives or Deputy Commissioner,
Intelligence and Counterterrorism.

RTCC-FIS and Detective Squad supervisors shall comply with P.G. 219-14, “Department
Computer Systems” to evaluate and monitor compliance with this procedure by
investigators who utilize facial recognition technology.

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ADDITIONAL All records related to facial recognition requests and results will be subject to privacy,
DATA confidentiality, and dissemination restrictions, as per P.G. 212-76, “Information Concerning
(continued) Official Business of Department,” as well as all related procedures and applicable local and
federal laws/rules.
Members of the Detective Bureau should direct all requests from outside agencies to RTCC-
FIS on an “FIS Outside Agency Form.” A copy of a complaint report from another law
enforcement agency must be submitted with the “FIS Outside Agency Form.”
The Intelligence Bureau shall also follow an analogous procedure when Intelligence
Bureau investigators utilize facial recognition technology and will abide by Handschu
Guidelines whenever they apply.

RELATED Department Confidentiality Policy (P.G. 203-22)

PROCEDURES Information Concerning Official Business of Department (P.G. 212-76)
Department Computer Systems (P.G. 219-14)

FORMS AND COMPLAINT REPORT (PD313-152)

REPORTS FIS Request DDS
FIS Possible Match Report
FIS No Match Report

FIS Image Rejection Report

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